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                                                 USDCSDNY
UNITED STATES DIST RICT COURT
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UN ITED STATES OF AMERICA                        DATE FI-LE-n-:-O-,-Z,-..g-j,)Jj ' .2..
                                                                               -    -.

               -v.   -
                                                ORDER


ROBE RT EGAN,                                   No. 10 Cr. 191          (JFK)


                         Defendant.


                                           x




       On January 17, 2012, the Court entered twenty-eight                   (28)


stipulations and orders settling petitions filed by various


petitioners     (the      "Settlement Stipulations")   asserting an interest


in the    $18,076,702.72 in remaining United States currency seized


from Mount Vernon Center locations at 44 N.            Saw River Road,


Elmsford,     New York and 403 East 3rd Street,        Mount Vernon,        New


York   (the   "Remaining Seized Currency" ) .


       As set forth in the table below,        pursuant to the Settlement


Stipulations,        the following petitions have been settled in the


amounts indicated:


           SETTLING PETITIONERS                    SETTLEMENT AMOUNT

Actors Federal Credit Union                                       $3,984,840.00

ADP Federal Credit Union                                              $240,000.00

ALPS Management,           Inc.                                       $101,561.79

Amalgamated Life           Insurance                                    $80,004.39
Company

 Bush Capital,       LLC                                              $190,000.00

 Cardtronics USA,          Inc.                                    $7,981,140.00
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Clothing Emporium, Inc.                                         $106,320.30

CUMIS Insurance Society, Inc.                                   $520,000.00

Department of Veterans Affairs                                  $155,194.00
Federal Credit Union

Four M Food Service                                              $22,105.31

Golden Krust Caribbean Bakery and                                $15,772.83
Grill

Greater Metro Federal Credit                                     $60,000.00
Union

Metro-North Commuter Railroad                                     $7,082.71
Company

MobileMoney                                                    $337,720.00

Money Spot, Inc.                                                $170,000.00

Moneygram International, Inc.                                $6,796,542.84

National ATM Services, Inc.       and                           $152,000.00
Town ATM Corp.

New York City Health and                                         $94,530.12
Hospitals Corporation

New York Community Bank                                         $100,000.00

New York University                                              $19,713.00

Northeast Alliance Federal Credit                               $565,462.93
Union

Those Interested Underwriters                               $17,009,090.00
Numbered B0702BB008120Y and
UMOO018767SP09A,     as Subrogees and
Assignees of U.s. Bancorp

Trans Fast Remittance, LLC                                      $102,281.91

Trustees of Columbia University                                 $200,000.00
in the City of New York

U.S. Courthouse SDNY Federal                                     $90,000.00
Credit Union

Village of Elmsford                                              $30,146.61



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WR Management and        C-Town                                              $9,000.00
Supermarket




XL Specialty     Insurance Company                                     $4,721,440.00
and Starnet     Insurance Company,             as
Subrogees and Assignees of
Wilmington Savings Fund Society


       The following     petitioners,             and the claim amounts in their


petitions,    have not entered into settlement stipulations                    and will


be moving    for summary          judgment    (the    "Non-Settling   Petitioners"):



       NON-SETTLING      PETITIONERS                        AMOUNT    OF   CLAIM


Capital One,    N.A.                                                       $364,400.00

Denburg    Pizza,    Inc.    ,    d/b/a                                     $13,420.00
Domino's     Pizza and James Denburg

Dominos    Pizza and Tony Maestri                                           $30,668.40

 Inserra Supermarkets,             Inc. ,   LML                            $146,984.84
Supermarkets,       Inc. ,       and Shoprite
of Garnerville,       Inc.

Mahopac National Bank                                                      $404,000.00

Smithfield Associates d/b/a                                                 $19,802.00
Pastis and Windy Gates,              Soho,
 Inc. , d/b/a   Balthazar



Sultana Distribution Services,                                              $51,244.56
Inc.

                                             TOTAL                     $1,030,519.80
                                                           (the   "Non-Settling-
                                                          Petitioners Amount")




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     The following petitioners,     whose petitions have been


rejected by the Court,    have filed appeals in this matter        (the


"Appealing Petitioners") :




         APPEALING PETITIONERS                     AMOUNT OF CLAIM
 -




Carver   Federal Savings Bank                                 $850,000.18

 Known Litigation Holdings, LLC,                           $3,324,520.00
as assignee of Domestic Bank

                                  TOTAL                    $4,174,520.18


     The Appealing Petitioners agreed at a December 22, 2011


conference in this ancillary proceeding that only a pro rata


reserve of their claimed amount should be held pending resolution


of their pending appeals.


     The following is the amount that should be held in reserve


from the initial distribution for the Appealing         Petitioners


pending resolution of the Appealing       Petitioners's appeals:


         APPEALING PETITIONERS             AP PEALING PETITIONERS PRO
                                                     RATA AMOUNT

Carver   Federal Savings Bank                                $301,630.38

Known Litigation Holdings, LLC,                            $1,179,736.51
as assignee of Domestic Bank

                                  TOTAL                    $1,481,366.89
                                           (the   "Appealing Petitioners
                                                  Pro Rata Amount")


     The total amount of funds that should be held back from the


initial distribution to the Settling       Petitioners from the




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        Remaining Seized Currency is $2,511,886.69 in United States


        currency,   which represents the Non-Settling-Petitioners Amount


        ($1,030,519.80)      plus the Appealing Petitioners Pro Rata Amount


        ($1,481,366.89)          Therefore,   $15,564,816.03 in United States


        currency    from the Remaining Seized Currency is available


        immediately for distribution to the Settling Petitioners.


              In consideration of the above,           it is hereby ordered that:


              1.    $2,511,886.69 in United States currency from the


        Remaining Seized Currency shall be held back in reserve from the


        initial distribution to the Settling Petitioners.


              2.    The United States Marshals Service shall make an


        initial distribution from the Remaining Seized Currency to the


        following Settling Petitioners in the respective amounts


        indicated in the         "Pro Rata Distribution Amount"      column below,


        along with imputed interest to the Settling Petitioners from


        February 26,      2010 through the date of disbursement:


I
         SETTLING PETITIONERS                 SETTLEMENT AMOUNT            PRO RATA
                                                                     DISTRIBUTION AMOUNT

    Actors Federal Credit Union                      $3,984,840.00          $L414,057.14

    ADP Federal Credit Union                           $240,000.00              $85,166.21

    ALPS Management,      Inc.                        $101,561.79               $36,040.14

    Amalgamated Life      Insurance                     $80,004.39              $28,390.29
    Company

    Bush Capital,   LLC                               $190,000.00               $67,423.25

    Cardtronics USA,      Inc.                       $7,981,140.00          $2,832,180.96


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Clothing Emporium,      Inc.                     $106, 320.30                 $37, 728.74

CUM IS   Insurance Society,      Inc.            $520, 000.00             $184, 526.78

Department of Veterans Affairs                   $155, 194.00                 $55, 072.02
Federal Credit Union

Four M Food Service                               $22, 105.31                  $7, 844.27

Golden Krust Caribbean Bakery                     $15, 772.83                  $5, 597. 13
and Grill

Greater Metro Federal Credit                      $60, 000.00                 $21, 291.55
Union



Metro-North Commuter Railroad                      $7, 082.71                  $2, 513.36
Company

MobileMoney                                      $337, 720. 00           $119, 843.05

Money Spot,    Inc.                              $170, 000.00                 $60, 326.06

Moneygram    International,      Inc.          $6, 796, 542.84         $2, 411, 815.76

National ATM Services,         Inc.              $152, 000.00                 $53, 938.60
and Town ATM Corp.

New York City Health and                          $94, 530.12                 $33, 544.88
Hospitals Corporation

New York Community Bank                          $100, 000.00                 $35, 485.92

New York University                               $19, 713. 00                 $6, 995.34

Northeast Alliance Federal                       $565, 462.93            $200, 659.72
Credit Union

Those Interested Underwriters              $17, 009, 090. 00           $6, 035, 832.09
Numbered B0702BB008120Y and
UMOOO18767SP09A,      as Subrogees
and Assignees of U.S. Bancorp

Trans Fast Remittance,      LLC                  $102, 281.91                 $36, 295.68

Trustees of Columbia                             $200, 000.00                 $70, 971.84
University in the City of New
York

U.S. Courthouse SDNY Federal                      $90, 000.00                 $31, 937. 33
Credit Union

Village of Elmsford                               $30, 146. 61                $10, 697.80


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WR Management and C-Town                          $9,000. 00                     $3,193.73
Supermarket

XL Specialty      Insurance Company          $4,721,440.00              $1,675,446.43
and Starnet Insurance Company,
as Subrogees and Assignees of
Wilmington Savings     Fund
Society




           3.      The Court shall retain jurisdiction to enforce this


    Order, and to amend it as necessary, pursuant to Rule 32.2 (e)                 of


    the Federal Rules of Criminal Procedure.


           4.      The Clerk of the Court shall forward three


    certified copies of this Order to Assistant United States


    Attorney David      I. Miller, One St. Andrew's Plaza, New York, New


    York 10007, and to the United States Marshal for the Southern


    District of New York, Joseph R.        Guccione.


    SO O RD E R ED.


    Dated:      New York, New York
                January 18, 2012


                                           SlJJ . 7--.&o�
                                           �          L E JOHN   F. KEENAN
                                                                             �

                                              UN I TED STATES D IS T R ICT JUDGE




                                              7
